                         U NITED STA TES D ISTR IC T C O UR T
                         SO U TH ER N D ISTR ICT O F FLO R ID A
                             CASE NO l8-8oz3s-cR-Middlebrooks/Brannon
                                           .

                                               18 U.S.C.j1343
                                               18U.S.C.jZ

U N ITED STAT ES O F A M E R ICA


VS.                                                                FILED BY           KJZ
                                                                                            Tblw'œ%*#:


SH ERR Y TIN A UW A N A W IC H ,                                      D ec 6,2018
 a/k/a Jacklyn M iller,                                             &TEVEN M .LARIM ORE
                                                                    CLERK U*5.Dl&lx lfTCL
                                                                    5.D.OFFlA W estPalm Beach
                   D EFEND A N T.



                                       IN D IC TM EN T
                                                       ê


The Grand Jury chargesthat:
                                    G eneralA lleeations

A ta11tim es relevantto thisIndictm ent:

               D efendantSH ERR Y TINA U W A N AW IC H ,a/k/a Jacklyn M iller,represented
                                                                                                         *
herselfasa psychic and spiritualhealer,w ith God-given pow ers,able to com m unicatew ith the

spiritw orld and to assistclientsthrough personaldifficulties.

               The defendantresided in and engaged in som e ofthe activities described in this

indictm entin the SouthenlD istrictofFlorida.

                                       CO UN TS 1- 3
                              (W ireFraud -18 U.S.C.j1343)
              The G eneralA llegations contained Paragraphs 1 and 2 of this lndictm ent

are realleged and ineorporated by reference as iffully setforth herein.
                 From at least as early as 2007, and eontinuing to and through 2014,in

Palm Beach County,and elsew here in the Southern D istrictofFlorida,the defendant,

                              SH E R R Y TIN A U W A N A W IC H ,
                                    a/k/a Jacklyn M iller,

did knowingly and with intentto defraud,deviseaschem e andartifice to defraud and toobtain

m oney and property from others by m eans of m aterially false and fraudulent pretenses,
representations,and prom ises,and by om issions of m aterial fact,and for the purpose of

executing the schem e and artificeto defraud,to cause to betransm itted certain w ritings,signs,

signals,and sounds,by m eansofw ire com munication in interstate com m erce.

                         O BJE C T O F TH E SC H EM E T O D EFM U D

           ltwastheobjectoftheschemetodefraudthatthedefendantwouldseektounjustly
enrich herselfby obtaining money,jewelry and othervaluablesbased upon false pretenses,
representations,prom ises,and om issionsofm aterialfact,including,butnotlim ited to,falsely

representing herselfto have God-given pow ersthatenabled herto help people afflicted with

curses. The defendant w ould claim thather curse-lifting w ork required her to receive m oney

forthe purchase ofvariousexpensiveitem sneeded forrituals.

                                   M A N N ER A N D M EA N S

        Themannerand meansby which thedefendantsoughtto accomplish theobjectofthe
schem eto defraud included,am ong otherthings,thefollowing:

             The defendant,using the fictitious nam e Jacklyn M iller,held herselfoutto V .G .

(hereinafterreferredtoasûûvietim'') asapersonintheforttlnetelling business,endowedwith
 God-given powersand ableto assistclientssuffering from physical,em otionaland spiritual

 difficulties.
      7. The defendantclaim ed to engage in m editationsin orderto com m unicatew ith

spiritsorhigherbeings. Based upon these m editations,the defendantclaim ed to have learned

thatthevictim w assuffering from a lûcurse''thatpurportedly had been placed upon hernow

deceased m other and w hich had been passed on to her.

            ln the course ofm ultiple m eetings/sessions and interstate telephone conversations

over a period ofyears with the victim , the defendantm ade variousfalse representations to the

victim ,including,butnot lim ited to the follow ing'
                                                   .

       a. Thatthedefendanthad learned from thespirits/guidesthatthe victim orvictim 'sfamily

wassuffering from a ''curse''which wasthecauseofthevictim 'scurrenttunnoil/strife;

       b. Thatthe defendantcould assistthe victim in ridding the victim and victim'sfamily or

blood line ofthiscurseandrestorethevictim 'slifeto harm ony and balance'
                                                                       ,

           Thatin orderto removethecurse,the defendantneeded cash from thevictim to

purchase various expensive Slm aterials,''such as specialcandlesand crystals'
                                                                            ,

            That,onatleastoneoccasion,thedefendantneededitemsofjewelryandother
personalproperty to iûw ork w ith''in hertûcurse rem ovalw ork,''prom ising thatsaid item sw ould be

returned. The item sw ere neverreturned.

           Thatmoney and otherproperty furnished by thevictim wasnotforthepersonaluse or

benefitofthe defendant;
             Thatthe failure ofthe victim to continue to furnish more m oney or property to the

 defendantw ould resultin the ''w ork''becom ing undone and resultin harm to the victim orvictim 's

 fam ily orloved ones.
               Thedefendantwould instructthevictim to depositcash intothevictim 'sbank accounts

and to furnish the defendantwith a debitcard thatwould enablethe defendantto removefundsat

w ill.
         10. Thedefendantwould instructthevictim to depositftmdsdirectly into thedefendant's

bank accounts.
                 The defendantw ould instructthe victim to send funds from Texas to the defendant

in theSouthern DistrictofFlorida viaW estelm Union wires.

         12.     The defendantwould instructthe victim notto talk aboutortellothersabouttheir

m eetings orthe large sum s ofm oney thatthe victim w asftlrnishing to the defendant,claim ing that

thisw ould ruin the ''w ork.''
         13.     Thedefendantwould failtotellthevictim thatshewasusing thevictim 'smoneyfor

thedefendant'spersonalbenetitandenjoyment.
         14.      A s a resultofthe m aterially false and fraudulentpretenses,m isrepresentations and

prom ises,andom issionsofm aterialfact,thedefendantcaused thevictim toprovidetothedefendant

m ore than one m illion dollars in cash and other valuables.

                                       U SE O F T H E W IR E S

          15.     On oraboutthedatessetforth asto each countbelow ,in M iam i-Dade and Broward

Counties,in the Southern DistrictofFlorida,and elsewhere,SHERRY TINA UW ANAW ICH .

a/k/a Jacklyn M iller,forthepurposeofexecutingtheschemeand artificeto defraud,andtoobtain

m oney and property by m eans of m aterially false and fraudulent pretenses,representations,and

prom ises,and om issionsofm aterialfact,know ing thatthe pretenses,representations,and prom ises

 w ere false and fraudulent w hen m ade, did knowingly transm it and cause to be transm itted in
interstateand foreign comm erce,bym eansofwirecom m unication,certainwritings,signs,signals,

picturesand sounds,asdescribedbelow:

        co tlN 'r   D A TE                       W IR E C O M M U N ICA TIO N
            l       12/22/13 W estern Union wiretransferin theamountof $900 from
                               Houston,Texas to M iam i-Dade County,Florida

            2       12/22/13   W estern Union wiretransferin the am ountof $200 from
                               H ouston,Texasto M iam i-D ade County,Florida

            3       12/28/13   W estern Union wiretransferin theamountof $900 from
                               Houston,Texasto Brow ard County,Florida



       A llin violation ofTitle 18,United StatesCode,Sections 1343 and 2.



                                         A TRU E B ILL



                                         FOREPERSON                         J


    0 > J., , ,
A RIA N A FA JA RD O RSHAN
UN IT D STAT S A TTORN EY


RO G R H .STEFIN
A SSISTAN T UN ITED STA TES A TTORN EY
                                            UN ITED STATES DISTRICT CO URT
                                           SO UTH ERN DISTRICT O F FLO RIDA

UNITEDSTATESOFAMERICA                                   CASENOln -FrJ < #-M zD                                     3
 V.
                                                        C ERTIFICATE O F TRIA L ATTOR NEY.
SHERRY TINA UW ANAW ICH ,
a/k/a Jacklyn M iller
                                                        Superseding Case lnform ation:
                            Defendant.         /

CourtDivision:(selectOne)                               New defendantts)           YeS
       M iami            Key W est                      N um berofnew defendants
       FTL    z          W PB            FTP            Totalnumberofcounts

                lhave carefully considered the allegations ofthe indictment,the num berofdefendants,thenumberof
                probablewitnessesand the legalcomplexitiesofthe lndictment/lnformation attachedhereto.
                Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                Courtin Setting theircalendars and scheduling criminaltrials underthe mandate ofthe Speedy Trial
                Act,Title28 U.S.C.Section 3l61.
                Interpreter:      (YesorNo)
                Listlanguageand/ordialect
                Thiscase willtake 5 daysforthepartiesto try.
                Pleasecheck appropriatecategory and typeofoffense listed below:
                (Checkonlyone)                                  (Checkonlyone)

        l       0 to 5 days                                     Petty
        11      6 to 10 days                                    M inor
        lll     11to 20 days                                    M isdem .
        IV      2lto 60 days                                    Felony
        V       6l daysand over
        6.     Hasthiscasepreviously beentiled inthisDistrictCourt?              (YesorNo)
         Ifyes:Judge                                CaseNo.
         (Attachcopyofdispositiveorder)                                    N
         Hasacomplaintbeenfiledinthismatler?             (YesorNo)          o
         Ifyes:M agistrateCaseNo.
         Relatedm iscellaneousnumbers:
          Defendantts)infederalcustodyasof
          Defendantts)in statecustodyasof
          Rule20 from theDistrictof
          lsthisapotentialdeathpenaltycase?(YesorNo)               No
                 Doesthiscaseoriginatefrom a matterpending in the CentralRegion ofthe U.S.Attorney'sOffice
                 priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                      Yes -     No Z
                  Doesthiscase originatefrom am atterpending intheNol-thern Region U.S.Attorney'sOffice
         8.      priortoAugust8,2014(Mag.JudgeShaniekM aynard)?                    Yes       No ?'

                                                                          *'



                                                                  R oge H .Stetin
                                                                  A SSISTANT U.S.ATTORNEY
                                                                  Florida BarNo.287334

   *penalty Sheetts)attached
                         UNITED STATES DISTRICT CO URT
                         SO UTH ERN D ISTR ICT O F FLO R ID A

                                    PEN A LTY SH EET

D efendant'sN am e: SH ER RY TINA U W A NA W ICH .a/k/a Jacklvn M iller


CaseNo:le -eo>2r< f-M = œ 8A :AJ
Counts



         Title 18.U .S.C .Section 1343
* M ax-penalty: 20 Years'lmprisonm ent;3 yearssupervised release;$250,000 Fineortwicethe
value ofthegrossgain orloss,whicheverisgreater; and a$100 specialassessm entand restitution.




 *ltefersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,special
 assessm ents,parole term s,or forfeituresthatm ay be applicable.
